              Case 6:18-bk-07470-KSJ          Doc 24     Filed 02/06/19      Page 1 of 2



                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
In re

Denise Colleen Ahlert
                                                    CHAPTER         13
                                                    CASE NO.        6:18-bk-07470-KSJ
      Debtor
______________________________/

    OBJECTION BY PARTNERS FEDERAL CREDIT UNION TO CONFIRMATION
               OF CHAPTER 13 PLAN FILED BY THE DEBTOR
        PARTNERS FEDERAL CREDIT UNION, ("Creditor"), by the undersigned attorneys,
objects to confirmation of the Plan ("Plan") as proposed by the Debtor and any future Plan(s) filed
by the Debtor(s) to the extent that such Plan or Plans contain the provision(s) to which this Objection
is directed. In support of this Objection, the Creditor states as follows:

        1.      For value received, the Debtor executed and delivered an installment sales contract
("Contract") as evidence of indebtedness to Creditor. Said indebtedness is secured by property more
particularly described in the Contract as: 2014 NISSAN JUKE VIN: JN8AF5MR3ET361919
("Collateral"). Reasons for objection: see below.

             Failure To Pay Interest Or Pay Appropriate Interest On Secured Claim
        2.      Creditor has filed a secured claim and seeks the payment of interest on such claim.

       3.      The Plan does not provide for payment of interest on such secured claim in an amount
consistent with Till v. SCS Credit Corp., 541 U.S. 465 (2004).

       4.      Therefore, the Debtors’ proposed Chapter 13 Plan does not meet the requirements of
11 U.S.C. §1323(a)(5). In addition, the Plan fails to comply with 11 U.S.C. §1325 (a)(1) in that it
does not provide adequate protection for Creditor’ s interest pursuant to 11 U.S.C. §361.

       5.      Creditor will withdraw this Objection in the event that the Plan is amended to
conform to the Creditor's proof of claim or otherwise satisfactorily address the issue(s) raised in this
Objection.

        WHEREFORE, Creditor prays for the entry of an appropriate order denying confirmation
with respect to the Plan as proposed and any future Plan(s) filed by the Debtor to the extent that such
Plan or Plans contain the provisions to which this Objection is directed.


                                                        /s/ Nicole Mariani Noel
                                                        Nicole Mariani Noel
                                                        Kass Shuler, P.A.
                                                        P.O. Box 800
                                                        Tampa, FL 33601
                                                        Phone: (813) 229-0900 Ext. 1343
                                                        Fax: (813) 229-3323
                                                        nmnoel@kasslaw.com
                                                        Florida Bar No. 69883
           Case 6:18-bk-07470-KSJ        Doc 24    Filed 02/06/19    Page 2 of 2




                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY THAT a true and correct copy of the foregoing was furnished on
February 6, 2019, by U.S. Mail and/or electronic mail via CM/ECF pursuant to Local Rule 1001-2
to: Denise Colleen Ahlert , 457 Regal Downs Circle, Winter Garden, FL 34787; Alejandro Rivera
1400 W. Oak Street, F , Kissimmee, FL 34741-4000; Arvind Mahendru, Trustee 5703 Red Bug Lake
Rd. Suite 284, Winter Springs, FL 32708.



                                                  /s/ Nicole Mariani Noel
                                                  Nicole Mariani Noel (x1343)


1808916/GLD
